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UNITED STATES DISTRICT COURT F‘W '4/ D-C-
WESTERN DISTRICT OF TENNESSEE JUL 20 AH ;g= 05
WESTERN DIVISION

 

 

COREY B. HAYNES JUDGMENT IN A CIVIL CASE
v-

CITY OF DYERSBURG, et al. CASE NO: 05-2370~D

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order of
Dismissal entered on July 13, 2005, this cause is hereby dismissed.

APPROVED:

 

UN ED STATES DISTRICT COURT

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Clerk of C
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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02370 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

Corey B. Haynes

WEST TENNESSEE STATE PENITENTIARY
00299024

P.O. Box l 150

Henning, TN 38041

Honorable Bernice Donald
US DISTRICT COURT

